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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

 

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In re Chapter 11

PARAGON OFFSHORE PLC, et al., Case No. 16-10386 (CSS)
(Jointly Administered)

Debtors.! : Re: Docket No. 1596
x

 

SIXTH ORDER EXTENDING THE EXCLUSIVE PERIODS
PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE

Upon the Motion, dated June 5, 2017 (the “Motion”),” of Paragon Offshore ple
(in administration) and its above-captioned debtor affiliates, as debtors and debtors in possession
(collectively, the “Debtors”), for an order pursuant to section 1121(d) of title 11 of the United
States Code (the “Bankruptcy Code”) further extending the Debtors’ exclusive periods in which
to file a chapter 11 plan (the “Exclusive Filing Period”) and solicit acceptances thereof (the
“Exclusive Solicitation Period,” and, together with the Exclusive Filing Period, the “Exclusive
Periods”), all as more fully described in the Motion; and the Court having jurisdiction to
consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and

the Amended Standing Order of Reference from the United States District Court for the District

 

" The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Paragon Offshore plc (in administration) (6017); Paragon Offshore Finance Company
(6632); Paragon International Finance Company (8126); Paragon Offshore Holdings US Inc. (1960); Paragon
Offshore Drilling LLC (4541); Paragon FDR Holdings Ltd. (4731); Paragon Duchess Ltd.; Paragon Offshore
(Luxembourg) S.a r.1. (5897); PGN Offshore Drilling (Malaysia) Sdn. Bhd. (9238); Paragon Offshore (Labuan) Pte.
Ltd. (3505); Paragon Holding SCS 2 Ltd. (4108); Paragon Asset Company Ltd. (2832); Paragon Holding SCS 1 Ltd.
(4004); Paragon Offshore Leasing (Luxembourg) S.a 1.1. (5936); Paragon Drilling Services 7 LLC (7882); Paragon
Offshore Leasing (Switzerland) GmbH (0669); Paragon Offshore do Brasil Ltda.; Paragon Asset (ME) Ltd. (8362);
Paragon Asset (UK) Ltd.; Paragon Offshore International Ltd. (6103); Paragon Offshore (North Sea) Ltd.; Paragon
(Middle East) Limited (0667); Paragon Holding NCS 2 S.ar.1. (5447); Paragon Leonard Jones LLC (8826); Paragon
Offshore (Nederland) B.V.; and Paragon Offshore Contracting GmbH (2832). The Debtors’ mailing address is 3151
Briarpark Drive, Suite 700, Houston, Texas 77042. Neville Barry Kahn and David Philip Soden, each of Deloitte
LLP, are the joint administrators of Paragon Offshore ple (in administration) (the “Joint Administrators”). The
affairs, business and property of Paragon Offshore plc (in administration) are managed by the Joint Administrators.

* Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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of Delaware dated February 29, 2012; and consideration of the Motion and the requested relief
being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this
Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having
been provided, and it appearing that no other or further notice need be provided; and the Court
having reviewed the Motion; and the Court having determined that the legal and factual bases set
forth in the Motion establish just cause for the relief granted herein; and it appearing that the
relief requested in the Motion is in the best interests of the Debtors and their respective estates
and creditors; and upon all of the proceedings had before the Court and after due deliberation and
sufficient cause appearing therefor:

IT IS HEREBY ORDERED THAT:

1. The Motion is granted to the extent set forth herein.

2. Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’
Exclusive Filing Period is extended through and including August 4, 2017.

3. Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’
Exclusive Solicitation Period is extended through and including October 3, 2017.

4. The extensions of the Exclusive Periods granted herein are without
prejudice to such further requests that may be made pursuant to section 1 121(d) of the
Bankruptcy Code by the Debtors or any party in interest, for cause, upon notice and hearing.

5. All time periods set forth in this Order shall be calculated in accordance
with Bankruptcy Rule 9006(a).

6. Notwithstanding any applicability of Bankruptcy Rules 6004(h), 7062, or
9014, the terms and conditions of this Order shall be immediately effective and enforceable upon

its entry.

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7. The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

8. This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and/or enforcement of this Order.

Dated: June ZL. , 2017
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Wilmington, Delaware
THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

 

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